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                            UNITED STATES DISTRICT COURT
                                    District of Maine



                                                    )   Docket No. 2:16-cv-000520-JAW
 ANTHONY J. SINENI, III, ESQ.,                      )
                   Plaintiff                        )
                                                    )
 v.                                                 )
                                                    )
 CUMBERLAND COUNTY SHERIFF’S                        )
 OFFICE,                                            )
                Defendant                           )
                                                    )



              ANSWER AND AFFIRMATIVE DEFENSES OF DEFENDANT

       NOW COMES Defendant, through counsel, and hereby responds to the allegations contained

in Plaintiff’s Complaint as follows:

                                   AFFIRMATIVE DEFENSES

       1. Plaintiff’s Complaint fails to state a cause of action which relief may be granted.

       2. Plaintiff has failed to identify a real party as a defendant as the Cumberland County

Sheriff’s Office is not an entity capable of suing or being sued.

       3. To the extent that any of Plaintiff’s claims are subject to the Maine Tort Claims Act,

Plaintiff has failed to comply with the notice provisions thereof.

       4. Plaintiff’s claims, one or all, are barred by the applicable statute of limitations.

       5. To the extent that the causes of action set forth in Plaintiff’s Complaint are subject to the

Maine Tort Claims Act, the Defendant is entitled to one or more of the immunities provided in the

Maine Tort Claims Act.
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       6. The Defendant is entitled to qualified immunities and/or privileges established by

common law under state law.

       7. To the extent that Plaintiff’s Complaint is predicated upon the actions of individuals, those

individuals are or would be entitled to qualified immunity.

       8. Plaintiff’s Complaint fails to state a proper claim for punitive damages.

                                             ANSWER

       The unnumbered paragraph of Plaintiff’s Complaint entitled “Introduction” does not require

a response. To the extent that a response is required, the Defendant denies the allegations contained

in the first two sentences. The Defendant admits that the Plaintiff was arrested and transported to

the County Jail. The Defendant is without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in the fourth, fifth, sixth, seventh, and eighth sentences

of the Introduction to Plaintiff’s Complaint and therefore denies same.

                                               Parties

       1. Defendant admits the allegations contained in Paragraph 1 of Plaintiff’s Complaint.

       2. Defendant admits that the Cumberland County Sheriff’s Department is a department

within the County of Cumberland. Defendant denies that the Cumberland County Sheriff’s

Department is subject to oversight by the Cumberland County Commissioners, and further and

specifically avers that the Sheriff’s Department is subject to oversight by the elected Sheriff of

Cumberland County, which is a constitutional position.

       3. Defendant admits that Jill Potvin is a detective for the Cumberland County Sheriff’s

Office, but denies all remaining allegations contained in this paragraph of Plaintiff’s Complaint.




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       4. Defendant admits that John Fournier is a detective for the Cumberland County Sheriff’s

Office, but denies all remaining allegations contained in this paragraph of Plaintiff’s Complaint.

       5. The allegations contained in Paragraph 5 of Plaintiff’s Complaint state legal conclusions

to which no response is required. To the extent a response is required, the Defendant denies each

and every allegation contained in Paragraph 5 of Plaintiff’s Complaint.

                                 Count 1 - Malicious Prosecution

       6. Defendant repeats and reasserts its responses to the allegations contained in Paragraphs

1 through and including 5 of Plaintiff’s Complaint as if fully set forth herein.

       7. Defendant denies the allegations contained in this paragraph of Plaintiff’s Complaint.

       8. The Defendant admits that an arrest warrant was obtained and the Plaintiff was arrested

as alleged, but denies each and every remaining allegation contained in this paragraph of Plaintiff’s

Complaint.

       9. Defendant admits that the Plaintiff was transported to and held at the Cumberland County

Jail for a period of time pursuant to the arrest warrant, but denies each and every remaining

allegation contained in this paragraph of Plaintiff’s Complaint.

       10. Defendant denies the allegations contained in this paragraph of Plaintiff’s Complaint and

further and specifically avers that criminal allegations are prosecuted by district attorneys or the

Attorney General in the State of Maine and not by law enforcement agencies.

       11. Defendant denies the allegations contained in this paragraph of Plaintiff’s Complaint.

       12. Defendant denies the allegations contained in this paragraph of Plaintiff’s Complaint.

       13. Defendant denies the allegations contained in this paragraph of Plaintiff’s Complaint.

       14. Defendant denies the allegations contained in this paragraph of Plaintiff’s Complaint.


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       15. Defendant denies the allegations contained in this paragraph of Plaintiff’s Complaint.

       16. Defendant denies the allegations contained in this paragraph of Plaintiff’s Complaint.

       17. Defendant is without sufficient information so as to form a belief as to the truth of the

allegations contained in this paragraph of Plaintiff’s Complaint and therefore denies same.

                                   Count 2 - False Imprisonment

       18. Defendant repeats and reasserts its responses to the allegations contained in Paragraphs

1 through and including 17 of Plaintiff’s Complaint as if fully set forth herein.

       19. The Defendant admits that an arrest warrant was obtained and the Plaintiff was arrested

as alleged, but denies each and every remaining allegation contained in this paragraph of Plaintiff’s

Complaint.

       20. Defendant admits that Plaintiff was arrested pursuant to an arrest warrant, but denies

each and every remaining allegation contained in this paragraph of Plaintiff’s Complaint.

       21. Defendant admits the allegations contained in Paragraph 21 of Plaintiff’s Complaint.

       22. Defendant is without sufficient information so as to form a belief as to the truth of the

allegations contained in this paragraph of Plaintiff’s Complaint and therefore denies same.

       23. Defendant is without sufficient information so as to form a belief as to the truth of the

allegations contained in this paragraph of Plaintiff’s Complaint and therefore denies same.

       24. Defendant is without sufficient information so as to form a belief as to the truth of the

allegations contained in this paragraph of Plaintiff’s Complaint and therefore denies same.

       25. Defendant is without sufficient information so as to form a belief as to the truth of the

allegations contained in this paragraph of Plaintiff’s Complaint and therefore denies same.

       26. Defendant is without sufficient information so as to form a belief as to the truth of the


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allegations contained in this paragraph of Plaintiff’s Complaint and therefore denies same.

       27. Defendant is without sufficient information so as to form a belief as to the truth of the

allegations contained in this paragraph of Plaintiff’s Complaint and therefore denies same.

       28. Defendant is without sufficient information so as to form a belief as to the truth of the

allegations contained in this paragraph of Plaintiff’s Complaint and therefore denies same.

                                Count 3 - Violation of Civil Rights

       29. Defendant repeats and reasserts its responses to the allegations contained in Paragraphs

1 through and including 28 of Plaintiff’s Complaint as if fully set forth herein.

       30. Defendant denies the allegations contained in this paragraph of Plaintiff’s Complaint.

       31. Defendant denies the allegations contained in this paragraph of Plaintiff’s Complaint.

       32. Defendant denies the allegations contained in this paragraph of Plaintiff’s Complaint.

       WHEREFORE, Defendant prays for judgment in its favor against Plaintiff on all counts of

Plaintiff’s Complaint, plus interest, costs, attorneys fees, and any other relief deemed just and

equitable under the circumstances. The Defendant further asks that Plaintiff be denied all relief

which he requests.


Dated: October 17, 2016                               /s/ Peter T. Marchesi
                                                      Peter T. Marchesi, Esq.


                                                      /s/ Cassandra S. Shaffer
                                                      Cassandra S. Shaffer, Esq.

                                                      Wheeler & Arey, P.A.
                                                      Attorneys for Defendant
                                                      27 Temple Street, P.O. Box 376
                                                      Waterville, ME 04903-0376



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                           UNITED STATES DISTRICT COURT
                                   District of Maine



                                                     )    Docket No. 2:16-cv-000520-JAW
 ANTHONY J. SINENI, III, ESQ.,                       )
                   Plaintiff                         )
                                                     )
 v.                                                  )
                                                     )
 CUMBERLAND COUNTY SHERIFF’S                         )
 OFFICE,                                             )
                Defendant                            )
                                                     )


                                CERTIFICATE OF SERVICE


       I, Peter T. Marchesi, Esq., attorney for the Defendant, hereby certify that:

       !      Answer and Affirmative Defenses of Defendant

has been served this day on Plaintiff by filing with the Clerk of Court using the CM/ECF system
which will send notification of such filing(s) to the following:

              Anthony J. Sineni, III, Esq.    (anthony@sinenilaw.com)


Dated:October 17, 2016                                    /s/ Peter T. Marchesi
                                                         Peter T. Marchesi, Esq.
                                                         Attorney for Defendants
                                                         Wheeler & Arey, P.A.
                                                         27 Temple Street, P.O. Box 376
                                                         Waterville, ME 04903-0376




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